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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

AUTO-OWNERS INSURANCE,                       )
                                             )
       Plaintiff,                            )      Case No.:      1:19-cv-00066-SNLJ
                                             )
v.                                           )
                                             )
BLAIR LEASING, LLC,                          )
                                             )
       Defendant.                            )

BLAIR LEASING, LLC,                          )
                                             )
       Counter-Plaintiff,                    )
                                             )
v.                                           )
                                             )
AUTO-OWNERS INSURANCE,                       )
                                             )
       Counter-Defendant.                    )

            JOINT MOTION TO EXTEND SCHEDULING ORDER DEADLINE

       COME NOW the parties, Plaintiff and Counter-Defendant Auto Owners Insurance

Company (“Plaintiff”) and Defendant and Counter-Plaintiff, Blair Leasing, LLC (“Defendant”),

and hereby submit the foregoing Joint Motion to Extend Scheduling Order Deadline (“Motion”)

of the current Case Management Order [Please see Doc. 10]. In support thereof, the parties jointly

state the following:

       1.      Per the Court’s Case Management Order, discovery must be completed in this case

no later than April 30, 2020.

       2.      Per the Court’s Case Management Order, alternative dispute resolution must be

completed by May 1, 2020.
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       3.      In addition, the parties requested an extension up to an including March 31, 2020,

to complete depositions of Defendant’s expert witnesses, which was granted by this Court on

February 13, 2020. [Please see Doc. 21].

       4.      Parties respectfully request a continuance for the aforementioned settings for 60

days, as the parties are still in the process of completing depositions.

       5.      At this time, parties have in good faith attempted to complete all of the necessary

depositions and mediation.

       6.      In fact, the parties have completed all of the depositions of Plaintiff’s experts and

completed the depositions of two of Defendant’s experts.

       7.      Furthermore, parties had arranged the depositions of Defendant’s other two experts,

both retained and non-retained, for March 26, 2020 in Denver, Colorado.

       8.      In addition, parties had arranged the depositions of Ellen and Doug Miller, owners

of Blair Leasing, for March 25, 2020. These depositions were also supposed to occur in Denver,

Colorado.

       9.      Parties had arranged mediation with Gary Snodgrass in St. Louis, Missouri for

April 15, 2020.

       10.     Parties arranged the deposition of a Corporate Representative of Auto-Owners for

April 16, 2020.

       11.     Counsel for Plaintiff are located in St. Louis, Missouri, while Counsel for

Defendant is located in Oklahoma City, Oklahoma.

       12.     The parties’ discovery efforts have been delayed by limitations and precautions put

in place due to the recent Coronavirus outbreak.




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       13.     All of these aforementioned events, require substantial travel efforts, requiring air

travel, from both parties.

       14.     In addition, some of the parties are considered in the high risk category due to

elderly age and underlying health conditions.

       15.     Therefore, traveling for and attending these depositions and/or mediation would be

extremely problematic.

       16.     The parties affirm that this Motion is not submitted for the purposes of delay, and

neither party will be prejudiced should the Court grant this Motion.

       17.     In sum, the parties request new deadlines for the following: complete discovery by

June 30, 2020; complete depositions of Defendant’s expert witnesses by May 31, 2020; and

complete mediation by July 1, 2020.

       WHEREFORE, premises considered, the parties respectfully request the Court grant this

Motion to Extend Scheduling Order Deadline as referenced hereinabove.

Respectfully submitted,




/s/ J. Drew Houghton (with permission)               /s/ Bradley R. Hansmann
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was served by the
Court’s electronic filing system, this 19th day of March, 2020, on the counsel of record listed
below.

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                                            /s/ Bradley R. Hansmann


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